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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

EDWIN ZAYAS, Individually and on Behalf of                         17 Civ. 5933 (GBD)
All Others Similarly Situated,
                                Plaintiffs
                                                         CIVIL CASE MANAGEMENT PLAN
                   - against -                              AND SCHEDULING ORDER

10TH AVENUE KOSTAS LLC and B & N
RESTAURANT INC.
                           Defendants

         After consultation with counsel for the parties, the following Case Management Plan is
adopted. This plan is also a scheduling order pursuant to Rules 16 and 26(f) of the Federal Rules
of civil Procedure.

1. An Initial pretrial conference will be held on Wednesday, January 10, 2018 at 9:30 a.m. at
the United States District Courthouse, 500 Pearl Street, New York, New York, Courtroom 11A.

2. No Additional parties may be joined after March 5, 2018.

3. No amendment to the pleadings will be permitted after March 5, 2018.

4. Except for good cause shown, all discovery shall be commenced in time to be completed by
May 3, 2018. The court expects discovery to be completed within 90 days of the first scheduling
conference unless, after the expiration of that 90 days period, all counsel stipulate that additional
time (not to exceed 60 more days) is needed to complete discovery. In such event, discovery may
be extended by the parties on consent, without application to the Court, provided the parties are
certain they can still meet the discovery completion date ordered by the Court. The discovery
completion date shall not be adjourned except upon a showing of extraordinary circumstances.

5. Identification of expert witness shall be by April 2, 2018.

6. Expert reports shall be disclosed by May 3, 2018. Rebuttal reports shall be disclosed within 30
days after the other party’s disclosure.

7. Depositions of expert witnesses shall be completed by June 4, 2018

8. Dispositive motions are to be served by July 9 2018. Answering papers are to be served
within 14 days. Reply papers are to be served within seven (7) days. In the event a dispositive
motion is made, the date for submitting the Joint Pretrial Order shall be changed from that shown
herein to three (3) weeks from the decision on the motion. The final pretrial conference shall be
adjourned to a date four (4) weeks from the decision on the motion.

9.. A final pretrial conference will be held on __________________, 2018 at
_______________.
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  9.. A final pretrial conference will be held on _ _ _ _ _ _ __, 2018 at


  l 0. The .{oint Pretrial Order shall be filed no later than _ _ _ _ _ _ __, 2018. The
  requirements for the pretrial order and other pretrial submissions shall be governed by the
  Court's Individual Rules of Practice.

  11. All motions and applications shall be governed by the Court's Individual Rules of Practice.

  12. The parties shall be ready for trial within 48 hours, notice on or after _ _ _ _ _ _ __,
  2018. The estimated trial time is 3 days, and this is a jury trial.

  13. A Subsequent Case Management Conference will be held on _ _ _ _ _ _ __, 2018.

  Dated: January 3, 2018
         New York, New York

                                                      SO ORDERED:


                                                      George B. Daniels
                                                      United States District Judge


~ a m o n d e , Esq.
 Law Offices of James E. Bahamonde, PC
  Attorney for Plaintiff




  Daniel Lynch
  Attorney for Defendants
